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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )     4:06CR3075-01
                      Plaintiff,              )     4:05CR3017-01
                                              )
              v.                              )
                                              )     ORDER
KENNETH SLOMINSKI,                            )
                                              )
                      Defendant.              )

       This matter comes before the Court on the government's unopposed motion to extend, filings
59 and 53, respectively.

      This court being duly advised in the premises, finds that the Motion should be granted. The
government and defendant are given until April 13, 2007, to file their sentencing statements.

       Dated this 6th day of April, 2007.

                                                    BY THE COURT:


                                                    s/ Richard G. Kopf
                                                    United States District Judge
